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   8
     Attorneys for Defendant RAMESH
   9 FLOWERS PRIVATE LIMITED
  10
                                  UNITED STATES DISTRICT COURT
  11
                                CENTRAL DISTRICT OF CALIFORNIA
  12
  13
     WESLEY GIBSON and ALEXIS                        CASE NO. 5:22-cv-00238 JWH (KKx)
  14 GIBSON, individually and as surviving
     parents and as successor-in-interest to
  15 Decedent Wyatt G. Gibson,                       Honorable John W. Holcomb
  16                     Plaintiffs,                 DEFENDANT RAMESH FLOWERS
                                                     PRIVATE LIMITED’S NOTICE OF
  17               vs.                               MOTION AND MOTION TO
                                                     DISMISS FOR LACK OF
  18 WAL-MART, INC.; FLORA                           PERSONAL JURISDICTION
     CLASSIQUE, INC.; MEREDITH                       PURSUANT TO RULE 12(b)(2)
  19 CORPORATION; RAMESH
     FLOWERS PRIVATE LIMITED;
  20 DOES 1 through 20; ROE Corporations             Date: November 17, 2023
     1 through 20; and DOE Employees 1               Time: 9:00 a.m.
  21 through 20, inclusive,                          Courtroom: 9D
  22                     Defendants.
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       2652623.1
               RAMESH FLOWERS PRIVATE LIMITED’S NOTICE OF MOTION AND MOTION TO DISMISS
                                                                CASE NO. 5:22-cv-00238 JWH (KKx)
                                                                                                                                 Case 5:22-cv-00238-JWH-kk Document 105 Filed 10/13/23 Page 2 of 4 Page ID #:2275




                                                                                                                                                             1                              NOTICE OF MOTION TO DISMISS
                                                                                                                                                             2               TO THE HONORABLE COURT, ALL PARTIES, AND ALL COUNSEL
                                                                                                                                                             3 OF RECORD:
                                                                                                                                                             4               PLEASE TAKE NOTICE THAT on November 17, 2023, at 9:00 a.m., before
                                                                                                                                                             5 the Honorable John W. Holcomb in Courtroom 9D of the United States District
                                                                                                                                                             6 Court for the Central District of California, located at 411 W. 4th Street, Santa Ana,
                                                                                                                                                             7 California, Defendant Ramesh Flowers Private Limited (“Ramesh”) will, and hereby
                                                                                                                                                             8 does, move the Court to dismiss Plaintiffs’ Third Amended Complaint for lack of
                                                                                                                                                             9 personal jurisdiction.
                                                                                                                                                            10               This motion is made following the conference of counsel pursuant to L.R. 7-
                       355 SOUTH GRAND AVENUE, FIFTEENTH FLOOR
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11 3, which took place on October 6, 2023.
YUKEVICH | CAVANAUGH




                                                                                                                                                            12               This motion is made pursuant to Fed. R. Civ. P. 12(b)(2) and is based on the
                                                                                                      Telephone (213) 362-7777
                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                            13 following grounds:
                                                                                                                                                            14               (1)   There is no general jurisdiction over Ramesh because it is an Indian
                                                                                                                                                            15 company with its principal place of business in India and is, therefore, not “at home”
                                                                                                                                                            16 in California.
                                                                                                                                                            17               (2)   There is no specific jurisdiction over Ramesh because (i) Ramesh did
                                                                                                                                                            18 not purposefully direct any alleged tortious act towards California that caused harm
                                                                                                                                                            19 in California, (ii) Plaintiffs’ claims do not arise out of or relate to any alleged
                                                                                                                                                            20 contacts Ramesh has with California, and (iii) the exercise of personal jurisdiction
                                                                                                                                                            21 over Ramesh would not be reasonable.
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                                                                                                                                                                         RAMESH FLOWERS PRIVATE LIMITED’S NOTICE OF MOTION AND MOTION TO DISMISS
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                                                                                                                                                             1               This motion is based on this notice of motion and motion, the accompanying
                                                                                                                                                             2 memorandum of points and authorities, the Declaration of Swaminathan N., all
                                                                                                                                                             3 pleadings and papers on file in this action, and such further evidence and argument
                                                                                                                                                             4 as may be presented at or before the hearing in this matter.
                                                                                                                                                             5
                                                                                                                                                             6 Dated: October 13, 2023.                  Respectfully submitted,
                                                                                                                                                             7                                           YUKEVICH | CAVANAUGH
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                                                                                                                                                             9
                                                                                                                                                                                                         By:
                                                                                                                                                            10
                       355 SOUTH GRAND AVENUE, FIFTEENTH FLOOR




                                                                                                                                                                                                               James J. Yukevich
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11                                                 Todd A. Cavanaugh
YUKEVICH | CAVANAUGH




                                                                                                                                                            12                                                 David V. Moore
                                                                                                      Telephone (213) 362-7777
                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                                                                               Jonathan Gottlieb
                                                                                                                                                            13                                                 Attorneys for Defendant RAMESH
                                                                                                                                                            14                                                 FLOWERS PRIVATE LIMITED

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                                                                                                                                                             1                                     PROOF OF SERVICE
                                                                                                                                                             2                    WESLEY GIBSON, et al. v. WAL-MART, INC., et al.
                                                                                                                                                                             UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF
                                                                                                                                                             3                     CALIFORNIA Case No. 5:22-cv-00238-JWH-KK
                                                                                                                                                             4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                                                             5        At the time of service, I was over 18 years of age and not a party to this
                                                                                                                                                               action. I am employed in the County of Los Angeles, State of California. My
                                                                                                                                                             6 business address is 355 South Grand Avenue, Fifteenth Floor, Los Angeles, CA
                                                                                                                                                               90071-1560.
                                                                                                                                                             7
                                                                                                                                                                      On October 13, 2023, I served true copies of the following document(s)
                                                                                                                                                             8 described as DEFENDANT RAMESH FLOWERS PRIVATE LIMITED’S
                                                                                                                                                               NOTICE OF MOTION AND MOTION TO DISMISS FOR LACK OF
                                                                                                                                                             9 PERSONAL JURISDICTION PURSUANT TO RULE 12(B)(2) on the
                                                                                                                                                               interested parties in this action as follows:
                                                                                                                                                            10
                       355 SOUTH GRAND AVENUE, FIFTEENTH FLOOR




                                                                                                                                                                                           SEE CM/ECF SERVICE LIST
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11
YUKEVICH | CAVANAUGH




                                                                                                                                                            12        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                                      Telephone (213) 362-7777
                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                               the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                                                                                            13 Participants in the case who are registered CM/ECF users will be served by the
                                                                                                                                                               CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                                                                                                            14 be served by mail or by other means permitted by the court rules.
                                                                                                                                                            15       I declare under penalty of perjury under the laws of the United States of
                                                                                                                                                               America that the foregoing is true and correct and that I am employed in the office
                                                                                                                                                            16 of a member of the bar of this Court at whose direction the service was made.
                                                                                                                                                            17               Executed on October 13, 2023, at Los Angeles, California.
                                                                                                                                                            18
                                                                                                                                                            19
                                                                                                                                                                                                               Kimberly Bardales
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